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12   Attorneys for Defendant
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13
14
15
16                             UNITED STATES DISTRICT COURT

17           CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION

18
19   DANIELLE HUBMER, Individually and             Case No.: 5:20-cv-1369 JGB (KKx)
     on Behalf of All Others Similarly
20   Situated,                                     [PROPOSED] AGREED
                                                   CONFIDENTIALITY ORDER
21                Plaintiff,

22         v.                                      [NOTE CHANGES BY COURT]

23   WALMART, INC.;

24                Defendants.

25
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28

                               [PROPOSED] AGREED CONFIDENTIALITY ORDER
     LEGAL02/41246481v1
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1          The parties agree to and now submit to the Court, and for good cause shown the
2    Court hereby enters, the following Confidentiality Order:
3    Good Cause Statement
4                 1.      This action is likely to involve trade secrets, customer information,
5    and other proprietary information for which special protection from public disclosure
6    and from use for any purpose other than prosecution of this action is warranted. Such
7    confidential and proprietary materials and information consist of, among other things,
8    confidential business or financial information, information regarding confidential
9    business practices, or other confidential research, development, or commercial
10   information (including information implicating privacy rights of third parties),
11   information otherwise generally unavailable to the public, or which may be privileged
12   or otherwise protected from disclosure under state or federal statutes, court rules, case
13   decisions, or common law. Accordingly, to expedite the flow of information, to
14   facilitate the prompt resolution of disputes over confidentiality of discovery materials,
15   to adequately protect information the parties are entitled to keep confidential, to ensure
16   that the parties are permitted reasonable necessary uses of such material in preparation
17   for and in the conduct of trial, to address their handling at the end of the litigation, and
18   serve the ends of justice, a protective order for such information is justified in this
19   matter. It is the intent of the parties that information will not be designated as
20   confidential for tactical reasons and that nothing be so designated without a good faith
21   belief that it has been maintained in a confidential, non-public manner, and there is good
22   cause why it should not be part of the public record of this case.
23                2.      This Order shall govern the disclosure of materials designated as
24   Confidential Material in this litigation. Confidential Material, as used in this Order,
25   shall refer to any document or item designated as Confidential or Highly Confidential
26   – Attorneys’ Eyes Only, including but not limited to, documents or items produced
27   during discovery, all copies thereof, and the information contained in such material.
28   Nothing in this Order shall require any party to produce any specific documents or
                                                1
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1    category of documents which a party deems inappropriate for production.
2    Definitions of Confidential Material
3                 3.      Confidential Material, as used in this Order, consists of the
4    following materials and categories of materials:
5              a. Materials relating to any privileged, confidential, or nonpublic
6              information, including, but not limited to, trade secrets, research,
               design, development, financial, technical, marketing, planning,
7              personal, or commercial information, as such terms are used in the
8              Federal Rules of Civil Procedure (Fed. R. Civ.) and any applicable
               case law interpreting Fed. R. Civ. 26(c)(1)(G) ; contracts; non-
9              public compilations of retail prices; proprietary information;
10             vendor agreements; personnel files; claim/litigation information;
               and nonpublic policies and procedures shall be deemed
11             Confidential.
12
               b. Materials containing corporate trade secrets, nonpublic research
13             and development data, including, but not limited to, cost data,
14             pricing formulas, inventory management programs, and other sales
               or business information not known to the public; information
15             obtained from a non-party pursuant to a non-disclosure agreement;
16             and customer-related Protected Data shall be deemed Highly
               Confidential – Attorneys’ Eyes Only.
17
               c. Protected Data shall refer to any information that a party believes
18
               in good faith to be subject to federal, state or foreign data
19             protection laws or other privacy obligations. Examples of such data
               protection laws include but are not limited to The Gramm-Leach-
20
               Bliley Act, 15 U.S.C. § 6801 et seq. (financial information); and,
21             The Health Insurance Portability and Accountability Act and the
               regulations thereunder, 45 CFR Part 160 and Subparts A and E of
22
               Part 164 (medical information). Certain Protected Data may
23             compel alternative or additional protections beyond those afforded
               Highly Confidential – Attorneys’ Eyes Only material, in which
24
               event the parties shall meet and confer in good faith, and, if
25             unsuccessful, shall move the Court for appropriate relief.
26
     The parties shall not designate as confidential information that is already public
27
     knowledge.
28
                                                2
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1                 4.      The parties agree that such Confidential Material as described in
2    paragraph 2 should be given the protection of an order of this Court to prevent injury
3    through disclosure to persons other than those persons involved in the prosecution or
4    defense of this litigation.
5    Procedure for Designating Information as Confidential
6                 5.      To designate information as confidential, the producing party shall
7    mark Confidential Material with the legend “CONFIDENTIAL” or “HIGHLY
8    CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Parties shall submit confidential
9    discovery responses, such as answers to interrogatories or answers to requests for
10   admissions, in a separate document stamped with the appropriate legend designating
11   those responses as Confidential Material. The Receiving Party may make copies of
12   Confidential Material and such copies shall become subject to the same protections as
13   the Confidential Material from which those copies were made.
14              a. Information on a disk or other electronic format (e.g., a native
15              format production) may be designated confidential by marking the
                storage medium itself (or the native file’s title) with the legend
16              “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
17              ATTORNEYS’ EYES ONLY.” The Receiving Party shall mark
                any hard-copy printouts and the storage medium of any permissible
18              copies of such electronic material with the corresponding legend
19              contained on the original and such copies shall become subject to
                the same protections, as the Confidential Material from which
20              those copies were made.
21
                b. Information disclosed at any deposition of a party taken in this
22              action may be designated by the party as confidential by indicating
23              on the record at the deposition that the information is confidential
                and subject to the provisions of this Order. Alternatively, the party
24              may designate information disclosed at the deposition as
25              confidential by notifying the court reporter and other parties in
                writing, within fifteen (15) business days of receipt of the
26              transcript, of the specific pages and lines of the transcript which
27              are designated as confidential. The parties may agree to a
                reasonable extension of the 15-business-day period for
28              designation. Designations of transcripts will apply to audio, video,
                                                3
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1              or other recordings of the testimony. During such 15-business-day
               period, the entire transcript shall receive confidential treatment.
2              Upon such designation, the court reporter and each party shall affix
3              the “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
               ATTORNEYS’ EYES ONLY” legend to the designated pages and
4              segregate them as appropriate.
5
                  6.      A producing party may change the confidentiality designation of
6
     materials it has produced, as follows: (1) The producing party must give the receiving
7
     parties notice of the change by identifying the documents or information at issue. Once
8
     notice is given, the receiving party must make good-faith efforts to ensure that the
9
     documents or information are accorded treatment under the new designation. (2)
10
     Within a reasonable period after giving notice, the producing party must reproduce the
11
     documents or information in a format that contains the new designation. (3) If such
12
     information has been disclosed to persons not qualified pursuant to paragraphs 12-13
13
     below, the party who disclosed such information shall (a) take reasonable efforts to
14
     retrieve previously disclosed Confidential Material; (b) advise such persons that the
15
     material is Confidential; and (c) give the producing party written assurance that steps
16
     (a) and (b) have been completed.
17
     Data Security
18
                  7.      The Parties agree to provide adequate security to protect data
19
     produced by the other party(ies) or by non-parties. This includes secure data storage
20
     systems, established security policies, and security training for employees, contractors
21
     and experts. Adequate security also includes such measures as data encryption in transit,
22
     data encryption at rest, data access controls, and physical security, whether
23
     hosted/outsourced to a vendor or on premises. At a minimum, any receiving party
24
     subject to the terms of this Confidentiality Order, will provide reasonable measures to
25
     protect non-client data consistent with the American Bar Association Standing
26
     Committee on Ethics and Professional Responsibility, Formal Opinion 477R.
27
28
                                                4
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1    Clawback Provisions
2                 8.      The production of privileged or work-product protected documents,
3    electronically stored information (ESI) or information, whether inadvertent or
4    otherwise, is not a waiver of the privilege or protection from discovery in this case or
5    in any other federal or state proceeding.
6                 9.      This Order shall be interpreted to provide the maximum protection
7    allowed by Federal Rule of Evidence (FRE) 502(d) and shall be enforceable and granted
8    full faith and credit in all other state and federal proceedings by 28 U.S. Code § 1738.
9                 10.     Nothing contained herein is intended to or shall serve to limit a
10   party’s right to conduct a review of documents, ESI or information (including metadata)
11   for relevance, responsiveness and/or segregation of privileged and/or protected
12   information before production.
13                11.     If the receiving party has reason to believe that a produced document
14   or other information may reasonably be subject to a claim of privilege, then the
15   receiving party shall immediately sequester the document or information, cease using
16   the document or information and cease using any work product containing the
17   information, and shall inform the producing party of the beginning BATES number of
18   the document or, if no BATES number is available, shall otherwise inform the
19   producing party of the information.
20                12.     A producing party must give written notice to any receiving party
21   asserting a claim of privilege, work-product protection, or other ground for reclaiming
22   documents or information (a “clawback request”). After a clawback request is received,
23   the receiving party shall immediately sequester the document (if not already
24   sequestered) and shall not review or use that document, or any work product containing
25   information taken from that document, for any purpose. The parties shall meet and
26   confer regarding any clawback request.
27   Who May Receive Confidential and Highly Confidential Information
28                13.     Confidential Material.      Any Confidential Material and the
                                                5
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1    information contained therein shall be disclosed only to the Court, its staff, in-house
2    counsel and outside counsel of record for each party, and also shall be disclosed on a
3    need-to-know basis only to the parties, counsel’s staff personnel, employees of a party
4    to whom disclosure is necessary in connection with the preparation for and trial of this
5    action (including professional vendors that provide litigation support such as court
6    reporters), and any witnesses in the case (including consulting and testifying experts)
7    as may from time to time reasonably be necessary in prosecution or defense of this
8    action.
9                 14.     Highly Confidential—Attorneys’ Eyes Only Material. Material and
10   information designated as “Highly Confidential—Attorneys’ Eyes Only” shall only be
11   disclosed to the Court, its staff, in-house and outside counsel of record for each party,
12   the secretarial, clerical, and paralegal staff of each, and consulting and testifying experts
13   retained by a party in this action.
14                15.     Restriction on Disclosure to Direct Competitors. Notwithstanding
15   the foregoing, Confidential Material shall not be disclosed to any employees, advisors,
16   or agents of a direct competitor of any party named in the litigation. If a Receiving
17   Party is in doubt about whether a particular entity is a direct competitor of a party named
18   in this lawsuit, then before disclosing any Confidential Material to any employee,
19   consultant, advisor, or agent of that entity, the Receiving Party’s counsel must confer
20   with counsel for the Producing Party.
21                16.     Persons Receiving Confidential Information Must Sign Exhibit A.
22   Counsel for each party shall advise all persons to whom Confidential Material is
23   disclosed pursuant to this Order of the existence of this Order and shall provide all such
24   persons (other than the Court and its staff) with a copy of this Order. Counsel shall also
25   require such persons to execute the Affidavit attached as Exhibit A, prior to the
26   disclosure of Confidential Material.
27                17.     Duties in the Event of Unauthorized Disclosures. It shall be the
28   obligation of counsel, upon learning of any unauthorized disclosure or threatened
                                                6
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1    unauthorized disclosure of Confidential Information, or any other breach or threatened
2    breach of the provisions of this Order, to promptly notify counsel for the Producing
3    Party.   The notification shall be supplemented with reasonable details of the
4    circumstances of the disclosure in order to permit the producing party to understand and
5    take appropriate steps. Each party and its counsel agree to take reasonable and good-
6    faith efforts to contain or limit any breach promptly upon receiving notice of it, and to
7    make reasonable and good-faith attempts to retrieve any unauthorized disclosure of
8    documents or information.       This provision does not limit the producing party’s
9    entitlement to damages resulting from any breach of this Order.
10   Authorized Uses of Confidential Material
11                18.     Confidential Material shall only be used for the purpose of litigating
12   the above-captioned lawsuit and may not be used in other lawsuits.
13                19.     Persons having knowledge of Confidential Material and information
14   due to their participation in the conduct of this litigation shall use such knowledge and
15   information only as permitted herein, and shall not disclose such Confidential Material,
16   their contents or any portion or summary thereof to any person(s) not involved in the
17   conduct of this litigation.
18                20.     If any person having access to the Confidential Material herein shall
19   violate this Order, he/she may be subject to sanctions by the Court and may be liable to
20   pay for the damages caused by his/her violation.
21   Challenges to the Designation of Confidential Material by a Party
22                21.     Any party to the Action may object to the designation of any
23   information by initiating the dispute resolution process under C.D. Cal. Local Rule 37-
24   1 et seq. “The burden of persuasion in any such challenge proceeding shall be on the
25   Designating Party,” and “[f]rivolous challenges, and those made for an improper
26   purpose (e.g., to harass or impose unnecessary expenses and burdens on other parties)
27   may expose the Challenging Party to sanctions.” Unless the Designating Party has
28   waived or withdrawn the confidentiality designation, all parties shall continue to afford
                                                7
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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1    the material in question the level of protection to which it is entitled under the
2    Designating Party’s designation unless and until the Court rules otherwise on the
3    challenge.
4    Withholding of Information
5                 22.     Non-relevant Attachments.      The parties will not produce non-
6    relevant attachments that are attached to relevant emails. When an attachment is
7    withheld, either for privilege or non-responsiveness, the producing party shall produce
8    a one-page TIFF image (or PDF if production format dictates) in place of the withheld
9    attachment, correspondingly stating “Attachment Withheld-Privileged” or “Attachment
10   Withheld-Nonresponsive”, and bearing a sequential BATES number within the family
11   BATES range. If any attachment to an email contains responsive content, then the cover
12   email shall be produced for context, regardless of the cover email’s responsiveness. The
13   cover email may be redacted in part to remove sensitive information, as described
14   below.
15                23.     Redactions.    The parties may redact (1) information that is
16   privileged or protected from discovery as work product or by reason of any other
17   applicable privilege or immunity; (2) information subject to non-disclosure obligations
18   imposed by governmental authorities, law or regulation (e.g., protected personal
19   information); and (3) sensitive, non-relevant information, including but not limited to
20   personally identifiable information, trade secrets, or information regarding products,
21   data, or people. Privilege redactions will state, over the redacted portion, “Redacted–
22   Privileged,” and all other redactions will state, “Redacted–Nonresponsive.” Redactions
23   of emails will not redact the names of recipients or the subject line of the emails, unless
24   the subject line is itself privileged or contains the sensitive information described above,
25   in which case only so much of the subject line will be redacted as may be needed. The
26   parties will produce redacted documents in TIFF format (or searchable PDF if
27   production format dictates; or in native format for file types that do not convert well to
28   TIFF/PDF, such as Excel files) with corresponding searchable OCR text and the
                                                8
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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 1   associated metadata for the document, ensuring the redacted content is fully protected
 2   from disclosure.
 3   Confidential Material In Filings, Hearings, and Trial
 4                 24.    Confidential Material in Filings. Without written permission from
 5   the Producing Party or court order secured after appropriate notice to all interested
 6   persons, a party may not file Confidential Material in the public record in this action (or
 7   in any other action, such as an appeal). A party that seeks to file under seal any
 8   Confidential Material must comply with United States District Court Central District of
 9   California Local Rule 79-5. Confidential Material may only be filed under seal in a
10   manner prescribed by the Court for such filings.
11                 25.    Manner of Sealing. In the event Confidential Materials or portions
12   of transcripts are sealed as confidential by the Court or as described in paragraph 24
13   above, they shall be filed in an envelope bearing the following designation when
14   deposited:
15                                      CONFIDENTIAL
16                IN ACCORDANCE WITH THE CONFIDENTIALITY ORDER
17                OF THE COURT, THE CONTENTS OF THIS ENVELOPE
                  SHALL BE TREATED AS CONFIDENTIAL AND MUST NOT
18                BE SHOWN TO A PERSON OTHER THAN THE COURT,
19                ATTORNEYS IN THIS CASE, OR TO PERSONS ASSISTING
                  THOSE ATTORNEYS.
20
21
22                 26.    Confidential Material in Hearings and Trial.            Any use of
23   Confidential Material at trial or other court hearings or proceedings shall be governed
24   by the orders of the trial judge. The provisions of this Order shall not affect, and this
25   Order does not limit, the admissibility of Confidential Material (or references to that
26   material) as evidence at trial, or during a hearing or similar proceeding in this action.
27   Continuing Effect of this Order and Duty to Destroy
28                 27.    This Order shall continue to be binding throughout and after the
                                                9
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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 1   conclusion of this litigation, including all appeals. Within thirty (30) days of settlement
 2   or final adjudication, including the expiration or exhaustion of all rights to appeal or
 3   petitions for extraordinary writs, each party or non-party to whom any materials were
 4   produced shall, without further request or direction from the Producing Party, promptly
 5   destroy all documents, items or data received including, but not limited to, copies or
 6   summaries thereof, in the possession or control of any expert or employee that include
 7   or incorporate Confidential Material. The Receiving Party shall submit a written
 8   certification to the Producing Party by the 30-day deadline that (1) confirms the
 9   destruction/deletion of all Confidential Material, including any copies of Confidential
10   Materials provided to persons required to execute Exhibit A (Affidavit), and (2) affirms
11   the Receiving Party has not retained any copies, abstracts, compilations, summaries or
12   any other format reproducing or capturing any of the Confidential Material.
13   Notwithstanding this provision, outside counsel is entitled to retain an archival copy of
14   filings, depositions, and deposition exhibits.
15   Procedure if Confidential Material Is Required to be Produced
16                28.     If any person receiving documents covered by this Order is served
17   with a subpoena, order, interrogatory, or document or civil investigative demand
18   (collectively, a “Demand”) issued in any other action, investigation, or proceeding, and
19   such Demand seeks material that was produced or designated as Confidential Material
20   by someone other than the Receiving Party, the Receiving Party shall give prompt
21   written notice by hand or electronic transmission within five (5) business days of receipt
22   of such Demand to the party or non-party who produced or designated the material as
23   Confidential Material, and shall object to the production of such materials on the
24   grounds of the existence of this Order. At the request of the party or non-party who
25   produced or designated the material as Confidential Material, the Receiving Party shall
26   refuse to comply with the Demand unless (a) ordered to do so by a court with
27   jurisdiction over the Receiving Party; or (b) released in writing by the party or non-
28   party who designated the material as Confidential Material. The burden of opposing
                                                10
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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 1   the enforcement of the Demand shall fall upon the party or non-party who produced or
 2   designated the material as Confidential Material. Compliance by the Receiving Party
 3   with any order of a court of competent jurisdiction, directing production of any
 4   Confidential Material, shall not constitute a violation of this Order. Nothing in this
 5   Agreed Confidentiality Order shall be construed as authorizing or encouraging a party
 6   to disobey a lawful subpoena or court order issued in another action.
 7   Application of this Order to Productions by Third Parties
 8                29.     This Order may be used by third parties producing documents in
 9   connection with this action. Third parties may designate information as Confidential or
10   Highly Confidential – Attorneys’ Eyes Only.
11                30.     If a third party produces (or intends to produce) documents and does
12   not designate (or does not intend to designate) those documents as Confidential
13   Material, then any party to this action may seek to designate that third party’s documents
14   or categories of documents as Confidential Material. In that case, it will be the burden
15   of the party seeking protected status to move for a court order designating the materials
16   as Confidential Material after the parties confer.
17                31.     In the event additional parties join or intervene in this litigation, the
18   newly joined party(ies) shall not have access to Confidential Material until its/their
19   counsel has executed and, at the request of any party, filed with the Court the agreement
20   of such party(ies) and such counsel to be fully bound by this Order.
21                32.     The parties agree that nothing in this Order shall be deemed to limit
22   the extent to which counsel for the parties may advise or represent their respective
23   clients, conduct discovery, prepare for trial, present proof at trial, including any
24   document designated Confidential Material as set forth herein, or oppose the production
25   or admissibility of any information or documents which have been requested.
26
27
28
                                                11
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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 1
                  33.     This Order shall remain in full force and effect until such time as it
 2
     is modified, amended, or rescinded by the Court.
 3
     IT IS SO ORDERED
 4
 5
     Dated: December 9, 2021
 6
                                             ___________________________________
 7
                                             Honorable Kenly Kiya Kato
 8                                           United States Magistrate Judge
 9
10
11
12         Respectfully stipulated to and submitted by,
13   Dated: December 7, 2021                STUART PLUNKETT
                                            JEFFREY A. ROSENFELD
14                                          RACHEL E. K. LOWE
                                            LISA GARCIA
15                                          ALSTON & BIRD LLP
16
                                            /s/ Jeffrey A. Rosenfeld
17                                          Jeffrey A. Rosenfeld
                                            Attorneys for Defendant
18                                          Walmart Inc.
19                                          MITCH KALCHEIM
     Dated: December 7, 2021                LEGAL GP
20                                          725 S. Figueroa Street, Suite 1750
                                            Los Angeles, California 90017
21
22
                                            /s/ Mitch Kalcheim
23                                          Mitch Kalcheim
                                            Attorneys for Plaintiffs Danielle Hubmer, Kelly
24                                          Schwalbach, and Angela O’Brien
25
26
27
28
                                                12
                             [PROPOSED] AGREED CONFIDENTIALITY ORDER
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 1                     EXHIBIT A TO CONFIDENTIALITY ORDER
 2
                            UNITED STATES DISTRICT COURT
 3
             CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
 4
 5    DANIELLE HUBMER, Individually and
      on Behalf of All Others Similarly Situated,      Case No.: 5:20-cv-1369 JGB (KKx)
 6
                   Plaintiff,
 7                                                     AFFIDAVIT OF COMPLIANCE
            v.                                         WITH CONFIDENTIALITY
 8
      WALMART, INC.;                                   ORDER
 9
                   Defendants.
10
11
12         1.     My       name       is     ___________________.                I     live     at
13   __________________________. I am working on behalf (or at the direction and
14   engagement) of __________________________.
15                2.     I am aware that a Confidentiality Order has been entered in the
16   above-captioned lawsuit. A copy of this Confidentiality Order has been given to me,
17   and I have read and understand the provisions of same.
18                3.     I acknowledge that documents and information designated as
19   confidential and/or highly confidential pursuant to such Confidentiality Order
20   (“Confidential Materials”) are being disclosed to me only upon the conditions that I
21   agree (a) to be subject to the jurisdiction of this Court, and (b) to comply with that Order.
22   I hereby agree to abide by such Order, subject to all penalties prescribed therein,
23   including contempt of Court, for disobedience of said Order. I promise that the
24   documents and information given confidential treatment under the Confidentiality
25   Order entered in this case will be used by me only to assist counsel for the parties in
26   preparing for litigation of the above-captioned matter. I understand that any use of such
27   Confidential Material in any manner contrary to the provisions of the Confidentiality
28   Order may subject me to the sanctions of this Court for contempt and to liability for any
                                                1
                 EXHIBIT A, AFFIDAVIT OF COMPLIANCE WITH CONFIDENTIALITY ORDER
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 1   damages caused by my breach of the Confidentiality Order.
 2                4.     I shall not disclose nor permit to be reviewed or copied said
 3   Confidential Materials, or any information derived from, by any person other than the
 4   parties and counsel for the parties or members of their staff.
 5                5.     Within 30 days after the above-captioned lawsuit ends in a final non-
 6   appealable order, I agree to destroy all Confidential Materials in my possession.
 7
 8   DATED: _________________, 2021 ____________________________________

 9                                           Signature

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11                                           Printed Name

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                 EXHIBIT A, AFFIDAVIT OF COMPLIANCE WITH CONFIDENTIALITY ORDER
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